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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

   NICOLE LOVE, individually and on behalf
   of those similarly situated,

                      Plaintiff,                       Case No. 3:19-cv-00296-BJB-RSE

          v.

   GANNETT CO. INC., et al.,

                      Defendants.


  DEFENDANTS’ SUPPLEMENTAL FILING REGARDING PLAINTIFF’S UNOPPOSED
   MOTION FOR SETTLEMENT APPROVAL AND DISMISSAL WITH PREJUDICE

         Pursuant to the Court’s July 26, 2021 telephone conference, Defendants provide this

  Supplemental Filing Regarding Plaintiff’s Unopposed Motion for Settlement Approval and

  Dismissal with Prejudice.

         During the Court’s July 26, 2021 telephone conference, the Court asked how the proposed

  settlement between the Parties would be affected by an alteration in the attorneys’ fees award, i.e.

  would any reduction go to Defendants or to the potential members of the collective. The response

  to that question is that any reduction in the attorney’s fee award would increase the Net Settlement

  Fund available to the potential members of the collective. The Settlement Agreement provides:

  “[t]he ‘Net Settlement Fund’ is the Gross Settlement Amount minus any court-approved service

  awards for the Named Plaintiff, costs of third-party administration, and attorney’s fees and costs.”

  ECF No. 136-1 at ¶ 7(a) (page 9).
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                                            Respectfully submitted,



                                            /s/ Linda C. Schoonmaker
                                            Linda C. Schoonmaker*
                                            Texas Bar No. 17806300
                                            Brian A. Wadsworth*
                                            Texas Bar No. 24075231
                                            SEYFARTH SHAW LLP
                                            700 Milam St., Ste 1400
                                            Houston, TX 77002
                                            Telephone: (713) 225-2300
                                            Facsimile: (713) 225-2340
                                            lschoonmaker@seyfarth.com
                                            bawadsworth@seyfarth.com

                                            -and-

                                            Camille A. Olson*
                                            Richard B. Lapp*
                                            Andrew L. Scroggins*
                                            SEYFARTH SHAW LLP
                                            233 S. Wacker Drive
                                            Suite 8000
                                            Chicago, IL 60606-6448
                                            Telephone: (312) 460-0005
                                            Facsimile: (312) 460-7000
                                            COlson@seyfarth.com
                                            RLapp@seyfarth.com
                                            AScroggins@seyfarth.com

                                            *admitted pro hac vice

                                            Counsel for Defendants Gannett Co. Inc.,
                                            Gannett Satellite Information Network, LLC, and
                                            GCOE, LLC




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                                   CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on July 26, 2021, she caused a true and

  correct copy of the foregoing DEFENDANTS’ SUPPLEMENTAL FILING REGARDING

  PLAINTIFF’S UNOPPOSED MOTION FOR SETTLEMENT APPROVAL AND DISMISSAL

  WITH PREJUDICE to be presented to the Clerk of the Court for filing and uploading to the

  CM/ECF system, which will send notification of such filing to all attorneys of record in this matter.


                                                         /s/ Linda C. Schoonmaker
                                                        Linda C. Schoonmaker
